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                                SUPPLEMENTAL MINUTE BOOK
                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF LOUISIANA
                                    LAFAYETTE DIVISION

Court convened at 11:20 a.m. on Thursday, March 18, 2021, and adjourned at 11:31 a.m.

PRESENT:         Patrick J. Hanna, Magistrate Judge, Presiding
                 Evelyn Alexander, Minute Clerk
                 Recorded: Liberty Court Recorder 7
                 Time in Court: 11 minutes


                                       GRAND JURY REPORT

 X Partial Report
 X Sealed Indictments ordered sealed and withheld from the public until such time as the defendants
come into federal custody.


                                         OPEN INDICTMENTS

CASE NUMBER                                    WARRANT                         SUMMONS
6:21-cr-00043-01***                               X
6:21-cr-00044-01***                               X
2:21-cr-00048-01***                               X




                                       SEALED INDICTMENTS

CASE NUMBER                                    WARRANT                         SUMMONS
6:21-cr-00042-01                                  X
6:21-cr-00042-02                                  X
6:21-cr-00045-01                                  X
2:21-cr-00046-01                                  X
2:21-cr-00047-01                                  X
1:21-cr-00049-01                                  X




   X   Warrants/summons ordered issued as indicated.
   *   In Federal Custody
  **   Superseding Indictment
 ***   State Custody
